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B6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       Central District of California
  In re          Andres Conejo, Jr.,                                                                          Case No. 2:15-bk-19940-NB
                 Lilia Sanchez
                                                                                                         ,
                                                                                       Debtors                Chapter                     13




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED            NO. OF          ASSETS               LIABILITIES               OTHER
                                                         (YES/NO)           SHEETS

A - Real Property                                              Yes            1                  712,416.00


B - Personal Property                                          Yes            4                   20,405.00


C - Property Claimed as Exempt                                 Yes            1


D - Creditors Holding Secured Claims                           Yes            1                                         784,980.55


E - Creditors Holding Unsecured                                Yes            2                                           4,361.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes            4                                         181,391.62
    Nonpriority Claims

G - Executory Contracts and                                    Yes            1
   Unexpired Leases

H - Codebtors                                                  Yes            1


I - Current Income of Individual                               Yes            2                                                                    4,500.00
    Debtor(s)

J - Current Expenditures of Individual                         Yes            2                                                                    3,951.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                    19


                                                                        Total Assets             732,821.00


                                                                                          Total Liabilities             970,733.17




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B 6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       Central District of California
  In re           Andres Conejo, Jr.,                                                                                 Case No. 2:15-bk-19940-NB
                  Lilia Sanchez
                                                                                                           ,
                                                                                        Debtors                       Chapter                 13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)                                                       0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                               4,361.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

              Student Loan Obligations (from Schedule F)                                                           0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                   0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                   0.00

                                                                              TOTAL                            4,361.00


              State the following:

              Average Income (from Schedule I, Line 12)                                                        4,500.00

              Average Expenses (from Schedule J, Line 22)                                                      3,951.00

              Current Monthly Income (from Form 22A-1 Line 11; OR,
              Form 22B Line 14; OR, Form 22C-1 Line 14 )                                                       6,500.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                       72,564.55

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                               4,361.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                            0.00

              4. Total from Schedule F                                                                                                181,391.62

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                            253,956.17




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B6A (Official Form 6A) (12/07)


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  In re         Andres Conejo, Jr.,                                                                           Case No. 2:15-bk-19940-NB
                Lilia Sanchez
                                                                                                  ,
                                                                                    Debtors
                                                             SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                  Husband,    Current Value of
                                                                          Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                      Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                 Community Deducting  any Secured
                                                                                                             Claim or Exemption

Location: 15502 Lashburn Street, Whittier CA                              FEE SIMPLE                  -                422,416.00                 467,982.00
90604 (Single family residence-4 bedrooms-2
bathrooms)

6517 Fishburn Ave., Bell, CA 90201                                        FEE SIMPLE                  -                290,000.00                 316,998.55
(this is not a rental property debtor does not
collect any rent or make any payment, sister and
Father on Loan and responsible for paying
property)




                                                                                                  Sub-Total >         712,416.00           (Total of this page)

                                                                                                          Total >     712,416.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                  (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re         Andres Conejo, Jr.,                                                                               Case No. 2:15-bk-19940-NB
                Lilia Sanchez
                                                                                                      ,
                                                                                     Debtors
                                                       SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

1.    Cash on hand                                            Cash on hand                                                   C                            20.00

2.    Checking, savings or other financial                    Wells Fargo Bank (Checking and Savings Account)                C                              0.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                      Bank of America (checking and savins account)                  C                            85.00
      thrift, building and loan, and
      homestead associations, or credit                       PayPal account                                                 C                              0.00
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Household Goods and Furnishings                                C                        1,300.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Wearing Apparel                                                C                           500.00

7.    Furs and jewelry.                                   X

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                             Sub-Total >            1,905.00
                                                                                                                 (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re         Andres Conejo, Jr.,                                                                               Case No. 2:15-bk-19940-NB
                Lilia Sanchez
                                                                                                      ,
                                                                                     Debtors
                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                       DBA Furniture Outlets (no cash value)                          C                              0.00
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                             Sub-Total >                  0.00
                                                                                                                 (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Andres Conejo, Jr.,                                                                                Case No. 2:15-bk-19940-NB
                Lilia Sanchez
                                                                                                       ,
                                                                                      Debtors
                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2004 Toyota Tacoma Approx Mileage 170,000-fully                 C                        3,000.00
    other vehicles and accessories.                           paid
                                                              Location: 15502 Lashburn Street, Whittier CA
                                                              90604

                                                              2006 Toyota Rav4 Approx Mileage: 140,000-fully                  C                        5,500.00
                                                              paid
                                                              Location: 15502 Lashburn Street, Whittier CA
                                                              90604

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                                Furniture Inventory for debtor's business $10,000)              C                      10,000.00

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X




                                                                                                                              Sub-Total >          18,500.00
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Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re         Andres Conejo, Jr.,                                                                              Case No. 2:15-bk-19940-NB
                Lilia Sanchez
                                                                                                     ,
                                                                                    Debtors
                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                          N                                                             Husband,        Current Value of
                Type of Property                          O              Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                              Joint, or   without Deducting any
                                                          E                                                            Community Secured Claim or Exemption

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >         20,405.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                       (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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   In re         Andres Conejo, Jr.,                                                                                  Case No. 2:15-bk-19940-NB
                 Lilia Sanchez
                                                                                                          ,
                                                                                      Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                              Specify Law Providing                          Value of                 Current Value of
                   Description of Property                                       Each Exemption                              Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Cash on Hand
Cash on hand                                                            C.C.P. § 703.140(b)(5)                                          20.00                            20.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Bank of America (checking and savins              C.C.P. § 703.140(b)(5)                                                                85.00                            85.00
account)

Household Goods and Furnishings
Household Goods and Furnishings                                         C.C.P. § 703.140(b)(3)                                      1,300.00                         1,300.00

Wearing Apparel
Wearing Apparel                                                         C.C.P. § 703.140(b)(3)                                        500.00                            500.00

Automobiles, Trucks, Trailers, and Other Vehicles
2004 Toyota Tacoma Approx Mileage                                       C.C.P. § 703.140(b)(5)                                      3,000.00                         3,000.00
170,000-fully paid
Location: 15502 Lashburn Street, Whittier CA
90604

2006 Toyota Rav4 Approx Mileage:                                        C.C.P. § 703.140(b)(2)                                      5,100.00                         5,500.00
140,000-fully paid                                                      C.C.P. § 703.140(b)(5)                                        400.00
Location: 15502 Lashburn Street, Whittier CA
90604

Inventory
Furniture Inventory for debtor's business                               C.C.P. § 703.140(b)(5)                                    10,000.00                        10,000.00
$10,000)




                                                                                                          Total:                  20,405.00                        20,405.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re         Andres Conejo, Jr.,                                                                                          Case No. 2:15-bk-19940-NB
                 Lilia Sanchez
                                                                                                                 ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                       C    U   D   AMOUNT OF
              CREDITOR'S NAME                                O                                                            O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                        N    L   S      CLAIM
           AND MAILING ADDRESS                               E                                                            T    I   P     WITHOUT             UNSECURED
            INCLUDING ZIP CODE,                              B   W           NATURE OF LIEN, AND                          I    Q   U                         PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                        DEDUCTING
           AND ACCOUNT NUMBER                                O                                                            G    I   E     VALUE OF               ANY
             (See instructions above.)
                                                                 C               OF PROPERTY
                                                             R
                                                                                SUBJECT TO LIEN
                                                                                                                          E    D   D   COLLATERAL
                                                                                                                          N    A
                                                                                                                          T    T
Account No.                                                          Second Mortgage                                           E
                                                                                                                               D

JP Morgan Chase Records Center                                     6517 Fishburn Ave., Bell, CA 90201
                                                                   (this is not a rental property debtor
Attn: Correspondence Mail
                                                                   does not collect any rent or make any
700 Kansas Lane
                                                                 - payment, sister and Father on Loan and
Monroe, LA 71203                                                   responsible for paying property)
                                                                        Value $                         290,000.00                       116,979.26                26,998.55
Account No. xxxxx0308                                                6/2007

Onewest Bank FSB                                                     First Mortgage
PO Box 829009
                                                                   Location: 15502 Lashburn Street,
Dallas, TX 75382-9009
                                                                 - Whittier CA 90604 (Single family
                                                                   residence-4 bedrooms-2 bathrooms)
                                                                        Value $                         422,416.00                       467,982.00                45,566.00
Account No. xxxxx1999                                              4/2003
                                                                   First Mortgage
Wells Fargo Bank, NA                                               6517 Fishburn Ave., Bell, CA 90201
MAC D3347-014                                                      (this is not a rental property debtor
                                                                   does not collect any rent or make any
3476 Stateview Blvd.
                                                                 - payment, sister and Father on Loan and
Fort Mill, SC 29715                                                responsible for paying property)
                                                                        Value $                         290,000.00                       200,019.29                        0.00
Account No.




                                                                        Value $
                                                                                                                       Subtotal
 0
_____ continuation sheets attached                                                                                                       784,980.55                72,564.55
                                                                                                              (Total of this page)
                                                                                                                          Total          784,980.55                72,564.55
                                                                                                (Report on Summary of Schedules)

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  In re         Andres Conejo, Jr.,                                                                                                Case No. 2:15-bk-19940-NB
                Lilia Sanchez
                                                                                                                      ,
                                                                                                Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             1         continuation sheets attached
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   In re         Andres Conejo, Jr.,                                                                                          Case No. 2:15-bk-19940-NB
                 Lilia Sanchez
                                                                                                                 ,
                                                                                                  Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No. xxxxxxxx xxxx6313                                        Notice only                                               E
                                                                                                                               D

Franchise Tax Board
Attn: Bankruptcy Unit                                                                                                                                     0.00
P.O. Box 2952
                                                                 C
Sacramento, CA 95812-2952

                                                                                                                                                  0.00                    0.00
Account No. xxxxxxxx xxxx6313                                        2012-2014

Internal Revenue Service                                             Taxes
P.O. Box 7346                                                                                                                                             0.00
Philadelphia, PA 19101-7346
                                                                 C

                                                                                                                                              4,361.00              4,361.00
Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)            4,361.00              4,361.00
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)              4,361.00              4,361.00

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   In re         Andres Conejo, Jr.,                                                                                     Case No. 2:15-bk-19940-NB
                 Lilia Sanchez
                                                                                                                 ,
                                                                                               Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. 2113                                                                11/2011                                                     T   T
                                                                                                                                                E
                                                                                Credit Card                                                     D

American Express
Becket and Lee                                                              C
POB 3001
Malvern, PA 19355
                                                                                                                                                                       4,715.67
Account No. xxxx5008                                                            7/2012
                                                                                Collection account
Azurea I, Llc
Weinstein and Riley, PS                                                     C
2001 Western Avenue
Suite 400
Seattle, WA 98121                                                                                                                                                      9,610.13
Account No. xxxx6101                                                            1/2009
                                                                                Collection account/notice only
Back Bowl I, LLC Series B
c/o Weinstein & Riley, P.S.                                                 C
2001 Western Avenue, Ste.400
Seattle, WA 98121
                                                                                                                                                                             0.00
Account No. xxxxxxxx9964                                                        3/2004
                                                                                Credit Card
Bank of America
PO Box 26078                                                                C
Greensboro, NC 27420-6078

                                                                                                                                                                       9,610.00

                                                                                                                                        Subtotal
 3
_____ continuation sheets attached                                                                                                                                   23,935.80
                                                                                                                              (Total of this page)




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   In re         Andres Conejo, Jr.,                                                                                 Case No. 2:15-bk-19940-NB
                 Lilia Sanchez
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxx9987                                                        8/2008                                                  E
                                                                                Credit card purchases                                   D

Bank of America
PO Box 15726                                                                C
Wilmington, DE 19886-5726

                                                                                                                                                            4,751.00
Account No. xxxxxxxx9092                                                        9/2007
                                                                                Credit Card
Capital One
PO Box 71083                                                                C
Charlotte, NC 28272-1083

                                                                                                                                                            7,843.57
Account No. 5917                                                                2010
                                                                                Credit card
Capital One Bank, USA
PO BOX 30281                                                                -
Salt Lake City, UT 84130

                                                                                                                                                            6,370.00
Account No. xxxxxxxx1916                                                        3/2000
                                                                                Credit Card
Citibank
PO BOX 6940                                                                 -
The Lakes, NV 88901

                                                                                                                                                            7,682.26
Account No. 8597                                                                Citibank credit card

Citibank
PO BOX 6940                                                                 -
The Lakes, NV 88901

                                                                                                                                                          12,296.39

           1
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                          38,943.22
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Andres Conejo, Jr.,                                                                                 Case No. 2:15-bk-19940-NB
                 Lilia Sanchez
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxx1931                                                        8/2002                                                  E
                                                                                Credit Card                                             D

Citicards/Citibank
PO BOX 6241                                                                 C
Sioux Falls, SD 57117

                                                                                                                                                          19,019.38
Account No. xxxxxxxx1033                                                        1/2003
                                                                                Credit Card
Discover Financial Services, LLC
POB 3025                                                                    C
New Albany, OH 43054

                                                                                                                                                            7,578.13
Account No. xxxxxxxx0010                                                        4/2001
                                                                                Credit Card
JP Morgan Chase Bank
c/l Law Ofc of Katherine Kane                                               C
1009 Wilshire Blvd., # 221
Santa Monica, CA 90401
                                                                                                                                                            9,882.15
Account No. xxxx9447                                                            Collection account

Oak Harbor Capital VI, LLC
c/o Weinstein & Riley                                                       C
2001 Western Ave., Ste. 400
Seattle, WA 98121
                                                                                                                                                            4,751.15
Account No. xxxxxxxx0372                                                        6/2006
                                                                                Credit Card
RBS Citizens
443 Jefferson Blvd.                                                         C
Warwick, RI 02886

                                                                                                                                                            7,489.03

           2
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                          48,719.84
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Andres Conejo, Jr.,                                                                                       Case No. 2:15-bk-19940-NB
                 Lilia Sanchez
                                                                                                                  ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                        B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxxx4429                                                            LAWSUIT                                                        E
                                                                                                                                               D

The Custom Companies, Inc
780 Watson Center Road                                                      C
Carson, CA 90745

                                                                                                                                                                 32,500.00
Account No. xxxxxxx3681                                                         2010-2011
                                                                                Broker Shipping Company
Unishippers
12235 Beach Blvd., Ste 8                                                    C
Stanton, CA 90680

                                                                                                                                                                 24,996.37
Account No. xxxxxxxx0181                                                        10/2002
                                                                                Credit Card
UNIVERSAL CARD/CITIBANK
P.O. BOX 6241                                                               C
Sioux Falls, SD 57117

                                                                                                                                                                 12,296.39
Account No.




Account No.




           3
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                 69,792.76
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)              181,391.62


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  In re             Andres Conejo, Jr.,                                                                         Case No. 2:15-bk-19940-NB
                    Lilia Sanchez
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.

                     Vivian Ortega & Carlos Garcia                                       Residential month to month rental agreement
                     15502 Lashburn St.                                                  $800 debtors are the lessors
                     Whittier, CA 90604




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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  In re          Andres Conejo, Jr.,                                                                     Case No. 2:15-bk-19940-NB
                 Lilia Sanchez
                                                                                               ,
                                                                                Debtors
                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR




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               continuation sheets attached to Schedule of Codebtors
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Fill in this information to identify your case:

Debtor 1                      Andres Conejo, Jr.

Debtor 2                      Lilia Sanchez
(Spouse, if filing)

United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

Case number               2:15-bk-19940-NB                                                                 Check if this is:
(If known)
                                                                                                               An amended filing
                                                                                                               A supplement showing post-petition chapter 13
                                                                                                               income as of the following date:

Official Form B 6I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                   Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                    Employed                                    Employed
       attach a separate page with            Employment status
       information about additional                                      Not employed                                Not employed
       employers.
                                              Occupation              Owner/Furniture Sales                       Owner/Party Favors
       Include part-time, seasonal, or
       self-employed work.                    Employer's name         Furniture Outlets                           Handmade Party Favors

       Occupation may include student or Employer's address
       homemaker, if it applies.
                                                                      443 Vineland Ave.                           15502 Lashburn St.
                                                                      La Puente, CA 91746                         Whittier, CA 90604

                                              How long employed there?           12 years                                  6 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00       $             0.00

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00              $      0.00




Official Form B 6I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1    Andres Conejo, Jr.
Debtor 2    Lilia Sanchez                                                                          Case number (if known)    2:15-bk-19940-NB


                                                                                                       For Debtor 1            For Debtor 2 or
                                                                                                                               non-filing spouse
      Copy line 4 here                                                                      4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $               0.00
      5b.    Mandatory contributions for retirement plans                                   5b.        $              0.00     $               0.00
      5c.    Voluntary contributions for retirement plans                                   5c.        $              0.00     $               0.00
      5d.    Required repayments of retirement fund loans                                   5d.        $              0.00     $               0.00
      5e.    Insurance                                                                      5e.        $              0.00     $               0.00
      5f.    Domestic support obligations                                                   5f.        $              0.00     $               0.00
      5g.    Union dues                                                                     5g.        $              0.00     $               0.00
      5h.    Other deductions. Specify:                                                     5h.+       $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.     $                  0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.     $                  0.00     $               0.00
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                            8a.        $      3,800.00         $         700.00
      8b. Interest and dividends                                                            8b.        $          0.00         $           0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                           8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                         8d.        $              0.00     $               0.00
      8e.    Social Security                                                                8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                       8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                      8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                    8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.     $          3,800.00         $           700.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $           3,800.00 + $            700.00 = $         4,500.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.     +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $          4,500.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                                                       Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                 Andres Conejo, Jr.                                                                  Check if this is:
                                                                                                                 An amended filing
Debtor 2                 Lilia Sanchez                                                                           A supplement showing post-petition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

Case number           2:15-bk-19940-NB                                                                                A separate filing for Debtor 2 because Debtor 2
(If known)                                                                                                            maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                                                      12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                No
      Do not list Debtor 1 and                      Fill out this information for   Dependent’s relationship to          Dependent’s         Does dependent
                                             Yes.   each dependent..............    Debtor 1 or Debtor 2                 age                 live with you?
      Debtor 2.
      Do not state the                                                                                                                          No
      dependents' names.                                                            Son                                  6 years                Yes
                                                                                                                                                No
                                                                                    Son                                  7 years                Yes
                                                                                                                                                No
                                                                                    Son                                  9 years                Yes
                                                                                                                                                No
                                                                                                                                                Yes
3.    Do your expenses include                      No
      expenses of people other than
      yourself and your dependents?                 Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                            Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                              1,928.00

      If not included in line 4:

      4a.   Real estate taxes                                                                              4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.    $                                 0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                  4c.    $                                60.00
      4d. Homeowner’s association or condominium dues                                                      4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                                 0.00




Official Form B 6J                                                    Schedule J: Your Expenses                                                    page 1
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Debtor 1     Andres Conejo, Jr.
Debtor 2     Lilia Sanchez                                                                              Case number (if known)       2:15-bk-19940-NB

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                   6a. $                                                90.00
      6b. Water, sewer, garbage collection                                                     6b. $                                               123.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                   6c. $                                               235.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                            7. $                                             1,000.00
8.    Childcare and children’s education costs                                                  8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                       9. $                                               130.00
10.   Personal care products and services                                                      10. $                                                50.00
11.   Medical and dental expenses                                                              11. $                                                 0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                                150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 50.00
14.   Charitable contributions and religious donations                                         14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                   0.00
      15b. Health insurance                                                                   15b. $                                                   0.00
      15c. Vehicle insurance                                                                  15c. $                                                  60.00
      15d. Other insurance. Specify:                                                          15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                   0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                   0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                   0.00
      17c. Other. Specify:                                                                    17c. $                                                   0.00
      17d. Other. Specify:                                                                    17d. $                                                   0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).            18. $                                                   0.00
19.   Other payments you make to support others who do not live with you.                           $                                                  0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’s, or renter’s insurance                                       20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’s association or condominium dues                                        20e. $                                                  0.00
21.   Other: Specify:        Emergency Expenses                                                21. +$                                                75.00
22. Your monthly expenses. Add lines 4 through 21.                                                            22.      $                       3,951.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                              4,500.00
    23b. Copy your monthly expenses from line 22 above.                                                      23b. -$                             3,951.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                 549.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes. Explain:




Official Form B 6J                                                  Schedule J: Your Expenses                                                        page 2
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                                                              United States Bankruptcy Court
                                                                     Central District of California
            Andres Conejo, Jr.
 In re      Lilia Sanchez                                                                                    Case No.   2:15-bk-19940-NB
                                                                                    Debtor(s)                Chapter    13



                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                        I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
               21      sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date July 1, 2015                                                      Signature   /s/ Andres Conejo, Jr.
                                                                                    Andres Conejo, Jr.
                                                                                    Debtor


 Date July 1, 2015                                                      Signature   /s/ Lilia Sanchez
                                                                                    Lilia Sanchez
                                                                                    Joint Debtor

   Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                    18 U.S.C. §§ 152 and 3571.




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                                                              United States Bankruptcy Court
                                                                     Central District of California
             Andres Conejo, Jr.
 In re       Lilia Sanchez                                                                                   Case No.      2:15-bk-19940-NB
                                                                                  Debtor(s)                  Chapter       13

                                                      STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the
answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.


                                                                                 DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is
"in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be
"in business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business
    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income
               for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $28,500.00                            2015: YTD gross income (estimated)
                          $31,765.00                            2014: Same as above
                          $31,282.00                            2013: Same as above




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              2. Income other than from employment or operation of business
      None    State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
              for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                                 SOURCE

              3. Payments to creditors
      None    Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule
              under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13
              must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
              petition is not filed.)

 NAME AND ADDRESS                                                        DATES OF                                                    AMOUNT STILL
    OF CREDITOR                                                          PAYMENTS                          AMOUNT PAID                 OWING

      None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                AMOUNT
                                                                         DATES OF                                PAID OR
                                                                         PAYMENTS/                             VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                            TRANSFERS                            TRANSFERS                OWING

      None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit
              of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                             DATE OF PAYMENT                   AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments
      None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing
              of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                     NATURE OF        COURT OR AGENCY                         STATUS OR
 AND CASE NUMBER                                                     PROCEEDING       AND LOCATION                            DISPOSITION
 Citibank (South Dakota) N.A v. Andres Conejo                        LIMITED CIVIL    Superior Court of California, County of PENDING
 Jr.                                                                                  Los Angeles
 Case No. 11C01232                                                                    Whittier Judicial District
                                                                                      7339 South Painter Avenue
                                                                                      Whittier, CA 90602




  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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 CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                         STATUS OR
 AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                            DISPOSITION
 Citibank (South Dakota) N.A v. Andres Conejo                           LIMITED CIVIL     Superior Court of California, County of PENDING
 Jr.                                                                                      Los Angeles
 Case No. 10C05194                                                                        Whittier Judicial District
                                                                                          7339 South Painter Avenue
                                                                                          Whittier CA 90602
 Capital One Bank (USA) N.A v. Andres Conejo                            LIMITED CIVIL     Superior Court of California, County of PENDING
 Jr.                                                                                      Los Angeles
 Case No. 11C02455                                                                        Whittier Judicial District
                                                                                          7339 South Painter Avenue
                                                                                          Whittier CA 90602
 The Custom Companies, Inc. v. Andres Conejo                            LIMITED CIVIL     Superior Court of California, County of PENDING
 Case No. BC464429                                                                        Los Angeles
                                                                                          111 North Hill Street
                                                                                          Los Angeles CA 90012

    None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE              PROPERTY

              5. Repossessions, foreclosures and returns
    None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
              12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
              the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN              PROPERTY

              6. Assignments and receiverships
    None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not
              a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                TERMS OF ASSIGNMENT OR SETTLEMENT

    None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                              NAME AND LOCATION
 NAME AND ADDRESS                                                  OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                               CASE TITLE & NUMBER               ORDER                    PROPERTY




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              7. Gifts
    None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
              and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
              aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                        RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                        DEBTOR, IF ANY                DATE OF GIFT            VALUE OF GIFT

              8. Losses
    None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
              since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                  LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                           BY INSURANCE, GIVE PARTICULARS                      DATE OF LOSS

              9. Payments related to debt counseling or bankruptcy
    None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
              concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year
              immediately preceding the commencement of this case.

                                                                        DATE OF PAYMENT,                                AMOUNT OF MONEY
 NAME AND ADDRESS                                                    NAME OF PAYER IF OTHER                         OR DESCRIPTION AND VALUE
     OF PAYEE                                                              THAN DEBTOR                                     OF PROPERTY
 Abacus Credit Counseling                                            6/22/15                                       $35 Certificate of Credit
 15760 Ventura Blvd, Suite 1240                                                                                    Counseling
 Encino, CA 91436
 Simon Resnik Hayes LLP                                              6/22/15                                       $310 Chapter 13 Court Filing
 510 W. 6th Street., Ste. 1220                                                                                     plus $1,500 towards motion to
 Los Angeles, CA 90014                                                                                             impose the automatic stay

              10. Other transfers
    None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
              transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
              filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                             DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                          DATE                           AND VALUE RECEIVED

    None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
              trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                      AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                              DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                     TRANSFER(S)             IN PROPERTY




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              11. Closed financial accounts
    None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
              otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
              financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
              cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
              must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is
              filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      TYPE OF ACCOUNT, LAST FOUR
                                                                      DIGITS OF ACCOUNT NUMBER,                       AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                     AND AMOUNT OF FINAL BALANCE                             OR CLOSING

              12. Safe deposit boxes
    None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
              immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
              depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                  DESCRIPTION                  DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                  OF CONTENTS                   SURRENDER, IF ANY

              13. Setoffs
    None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                        DATE OF SETOFF                                   AMOUNT OF SETOFF

              14. Property held for another person
    None      List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY              LOCATION OF PROPERTY

              15. Prior address of debtor
    None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
              occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
              address of either spouse.

 ADDRESS                                                             NAME USED                                        DATES OF OCCUPANCY

              16. Spouses and Former Spouses
    None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
              Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding
              the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the
              debtor in the community property state.

 NAME




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              17. Environmental Information.

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
              or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
              to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

              "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned
              or operated by the debtor, including, but not limited to, disposal sites.

              "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
              pollutant, or contaminant or similar term under an Environmental Law

    None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
              liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and,
              if known, the Environmental Law:

                                                          NAME AND ADDRESS OF                   DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                     NOTICE                       LAW

    None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
              Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                   DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                     NOTICE                       LAW

    None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
              the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
              docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                STATUS OR DISPOSITION

              18 . Nature, location and name of business
    None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning
              and ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation,
              partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within
              six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
              equity securities within six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within
              six years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within
              six years immediately preceding the commencement of this case.

                                  LAST FOUR DIGITS OF
                                  SOCIAL-SECURITY OR
                                  OTHER INDIVIDUAL
                                  TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                             (ITIN)/ COMPLETE EIN               ADDRESS                    NATURE OF BUSINESS              ENDING DATES
 Furniture Outlets                5917                               443 N. Vineland Ave.       Furniture Sales                 2003-present
                                                                     La Puente, CA 91746

    None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                  ADDRESS


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    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

              19. Books, records and financial statements
    None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
              supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                        DATES SERVICES RENDERED
 Juan Manuel Arenas                                                                                      2002-present
 3049 E. Florence Avenue
 Huntington Park, CA 90255

    None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
              books of account and records, or prepared a financial statement of the debtor.

 NAME                                              ADDRESS                                               DATES SERVICES RENDERED

    None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and
              records of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                 ADDRESS

    None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement
              was issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                              DATE ISSUED

              20. Inventories
    None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
              and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                 INVENTORY SUPERVISOR                                  (Specify cost, market or other basis)

    None      b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                           RECORDS

              21 . Current Partners, Officers, Directors and Shareholders
    None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                    NATURE OF INTEREST                              PERCENTAGE OF INTEREST

    None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
              controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                    TITLE                               OF STOCK OWNERSHIP


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              22 . Former partners, officers, directors and shareholders
    None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
              commencement of this case.

 NAME                                                         ADDRESS                                                      DATE OF WITHDRAWAL

    None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
              immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                    TITLE                                      DATE OF TERMINATION

              23 . Withdrawals from a partnership or distributions by a corporation
    None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
              compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately
              preceding the commencement of this case.

 NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
 OF RECIPIENT,                                                       DATE AND PURPOSE                                        OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                              OF WITHDRAWAL                                           VALUE OF PROPERTY

              24. Tax Consolidation Group.
    None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
              group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
              of the case.

 NAME OF PARENT CORPORATION                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)

              25. Pension Funds.
    None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as
              an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                      TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                              ******

                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date July 1, 2015                                                   Signature     /s/ Andres Conejo, Jr.
                                                                                   Andres Conejo, Jr.
                                                                                   Debtor


 Date July 1, 2015                                                   Signature     /s/ Lilia Sanchez
                                                                                   Lilia Sanchez
                                                                                   Joint Debtor

                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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February 2006
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                                            United States Bankruptcy Court
                                                 Central District of California
          Andres Conejo, Jr.
 In re    Lilia Sanchez                                                                  Case No.   2:15-bk-19940-NB
                                                                Debtor(s)                Chapter    13



                     DEBTOR'S CERTIFICATION OF EMPLOYMENT INCOME
                          PURSUANT TO 11 U.S.C. § 521 (a)(1)(B)(iv)
Please fill out the following blank(s) and check the box next to one of the following statements:

I, Andres Conejo, Jr. , the debtor in this case, declare under penalty of perjury under the laws of the United States of
America that:

            I have attached to this certificate copies of my pay stubs, pay advices and/or other proof of employment
            income for the 60-day period prior to the date of the filing of my bankruptcy petition.
            (NOTE: the filer is responsible for blacking out the Social Security number on pay stubs prior to filing them.)

            I was self-employed for the entire 60-day period prior to the date of the filing of my bankruptcy petition, and
            received no payment from any other employer.

            I was unemployed for the entire 60-day period prior to the date of the filing of my bankruptcy petition.

I, Lilia Sanchez , the debtor in this case, declare under penalty of perjury under the laws of the United States of America
that:

            I have attached to this certificate copies of my pay stubs, pay advices and/or other proof of employment
            income for the 60-day period prior to the date of the filing of my bankruptcy petition.
            (NOTE: the filer is responsible for blacking out the Social Security number on pay stubs prior to filing them.)

            I was self-employed for the entire 60-day period prior to the date of the filing of my bankruptcy petition, and
            received no payment from any other employer.

            I was unemployed for the entire 60-day period prior to the date of the filing of my bankruptcy petition.


Date July 1, 2015                                   Signature   /s/ Andres Conejo, Jr.
                                                                Andres Conejo, Jr.
                                                                Debtor


Date July 1, 2015                                   Signature   /s/ Lilia Sanchez
                                                                Lilia Sanchez
                                                                Joint Debtor
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 Fill in this information to identify your case:                                                          Check as directed in lines 17 and 21:
                                                                                                            According to the calculations required by this
 Debtor 1            Andres Conejo, Jr.                                                                     Statement:

 Debtor 2            Lilia Sanchez                                                                                1. Disposable income is not determined under
 (Spouse, if filing)                                                                                                 11 U.S.C. § 1325(b)(3).

                                                                                                                  2. Disposable income is determined under 11
 United States Bankruptcy Court for the:           Central District of California                                    U.S.C. § 1325(b)(3).


 Case number         2:15-bk-19940-NB                                                                             3. The commitment period is 3 years.
 (if known)
                                                                                                                  4. The commitment period is 5 years.


                                                                                                                 Check if this is an amended filing

Official Form 22C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                          12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

 Part 1:       Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
           Not married. Fill out Column A, lines 2-11.
           Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.
    11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your
    monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount
    more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to
    report for any line, write $0 in the space.
                                                                                                      Column A              Column B
                                                                                                      Debtor 1              Debtor 2 or
                                                                                                                            non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                             $            0.00     $             0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                           $            0.00     $             0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line 3.                                                    $            0.00     $             0.00
  5. Net income from operating a business, profession, or farm
       Gross receipts (before all
       deductions)                            $            4,700.00       $         1,000.00
       Ordinary and necessary
       operating expenses                    -$                  0.00 -$                0.00
       Net monthly income from a                                                               Copy
       business, profession, or farm          $            4,700.00       $         1,000.00 here -> $       4,700.00       $        1,000.00
  6. Net income from rental and other real property
       Gross receipts (before all deductions)                        $               800.00
       Ordinary and necessary operating expenses                     -$                0.00
       Net monthly income from rental or other real                                            Copy
       property                                                      $               800.00 here -> $            800.00     $             0.00




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 Debtor 2     Lilia Sanchez                                                                                    Case number (if known)    2:15-bk-19940-NB

                                                                                                           Column A                      Column B
                                                                                                           Debtor 1                      Debtor 2 or
                                                                                                                                         non-filing spouse
                                                                                                           $                 0.00        $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                             $                 0.00        $            0.00
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                                  $                     0.00
            For your spouse                                          $                     0.00
  9. Pension or retirement income. Do not include any amount received that was a benefit
     under the Social Security Act.                                                      $                                   0.00        $            0.00
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act or payments received as
      a victim of a war crime, a crime against humanity, or international or domestic terrorism.
      If necessary, list other sources on a separate page and put the total on line 10c.
            10a.                                                                                           $                 0.00        $            0.00
            10b.                                                                                           $                 0.00        $            0.00
            10c. Total amounts from separate pages, if any.                                           +    $                 0.00        $            0.00
  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                 $           5,500.00           +$         1,000.00      =   $      6,500.00

                                                                                                                                                              Total average
                                                                                                                                                              monthly income

 Part 2:        Determine How to Measure Your Deductions from Income


  12. Copy your total average monthly income from line 11.                                                                                            $          6,500.00
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 on line 3d.
              You are married and your spouse is filing with you. Fill in 0 in line 13d.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your dependents,
              such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 on line 13d.
              13a.                                                                                $
              13b.                                                                                $
              13c.                                                                           +$

              13d. Total                                                                      $                       0.00         Copy here=> 13d.       -               0.00



  14. Your current monthly income. Subtract line 13d from line 12.                                                                              14.   $          6,500.00


  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                               15a. $            6,500.00

                   Multiply line 15a by 12 (the number of months in a year).                                                                                  x 12

        15b. The result is your current monthly income for the year for this part of the form.                                                 15b. $           78,000.00




Official Form 22C-1             Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                 page 2
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 Debtor 1     Andres Conejo, Jr.
 Debtor 2     Lilia Sanchez                                                                         Case number (if known)   2:15-bk-19940-NB


  16. Calculate the median family income that applies to you. Follow these steps:

       16a. Fill in the state in which you live.                           CA

       16b. Fill in the number of people in your household.                 5
       16c. Fill in the median family income for your state and size of household.                                               16c.         $     87,518.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11
                      U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C-2).
       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C-2). On line 39 of that form, copy your
                      current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                       18. $                   6,500.00
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
     income, copy the amount from line 13d.
     If the marital adjustment does not apply, fill in 0 on line 19a.                                                            19a.-$                       0.00


       Subtract line 19a from line 18.                                                                                           19b.     $          6,500.00


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                        20a.         $      6,500.00

              Multiply by 12 (the number of months in a year).                                                                                    x 12

       20b. The result is your current monthly income for the year for this part of the form                                     20b.         $     78,000.00




       20c. Copy the median family income for your state and size of household from line 16c                                                  $     87,518.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period
                   is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Andres Conejo, Jr.                                                         X /s/ Lilia Sanchez
        Andres Conejo, Jr.                                                               Lilia Sanchez
        Signature of Debtor 1                                                            Signature of Debtor 2
       Date July 1, 2015                                                                 Date July 1, 2015
            MM / DD / YYYY                                                                    MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 22C-2.
       If you checked 17b, fill out Form 22C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 22C-1             Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                    page 3
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                        Andres Conejo, Jr.
                        15502 Lashburn Street
                        Whittier, CA 90604


                        Lilia Sanchez
                        15502 Lashburn Street
                        Whittier, CA 90604


                        Matthew Resnik
                        Simon Resnik Hayes LLP
                        510 West 6th Street, Suite 1220
                        Los Angeles, CA 90014


                        American Express
                        Becket and Lee
                        POB 3001
                        Malvern, PA 19355


                        American Express Bank, FSB
                        Becket and Lee, LLP
                        POB 3001
                        Malvern, PA 19355-0701


                        Azurea I, Llc
                        Weinstein and Riley, PS
                        2001 Western Avenue
                        Suite 400
                        Seattle, WA 98121


                        Back Bowl I, LLC Series B
                        c/o Weinstein & Riley, P.S.
                        2001 Western Avenue, Ste.400
                        Seattle, WA 98121


                        Bank of America
                        PO Box 26078
                        Greensboro, NC 27420-6078
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                    Bank of America
                    PO Box 15726
                    Wilmington, DE 19886-5726


                    Capital One
                    PO Box 71083
                    Charlotte, NC 28272-1083


                    Capital One Bank, USA
                    PO BOX 30281
                    Salt Lake City, UT 84130


                    Chapter 13 Trustee
                    Kathleen Dockery
                    700 South Flower St., Ste. 1950
                    Los Angeles, CA 90051


                    Citibank
                    PO BOX 6940
                    The Lakes, NV 88901


                    Citicards/Citibank
                    PO BOX 6241
                    Sioux Falls, SD 57117


                    Discover Financial Services, LLC
                    POB 3025
                    New Albany, OH 43054


                    FIA Card Services
                    P.O. Box 15102
                    Wilmington, DE 19886-5102
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                    Franchise Tax Board
                    Attn: Bankruptcy Unit
                    P.O. Box 2952
                    Sacramento, CA 95812-2952


                    Internal Revenue Service
                    P.O. Box 7346
                    Philadelphia, PA 19101-7346


                    JP Morgan Chase Bank
                    c/l Law Ofc of Katherine Kane
                    1009 Wilshire Blvd., # 221
                    Santa Monica, CA 90401


                    JP Morgan Chase Records Center
                    Attn: Correspondence Mail
                    700 Kansas Lane
                    Monroe, LA 71203


                    JPMorgan Chase Bank, N.A.
                    c/o Law Ofc of Katherine Kane
                    1009 Wilshire Blvd., Ste 221
                    Santa Monica, CA 90401


                    Kaystone Recovery Partners LLC
                    c/o Weinstein & Riles PS
                    2001 Western Ave., Ste 400
                    Seattle, WA 98121


                    Keystone Recovery Partners LLC
                    Series A
                    c/o Weinstein & Riley, PS
                    2001 Western Avenue, Suite 400
                    Seattle, WA 98121


                    LVNV Funding LLC/Citibank, NA
                    Resurgent Capital Services
                    PO BOX 10587
                    Greenville, SC 29603
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                    Miles Kavaller
                    15915 Ventura Blvd.
                    Penthouse One
                    Encino, CA 91436


                    NBS Default Services, LLC
                    301 E Ocean Blvd, #1720
                    (TS# 9434-2264)
                    Long Beach, CA 90802


                    Oak Harbor Capital LLC
                    C O Weinstein And Riley, PS
                    2001 Western Ave., Ste. 400
                    Seattle, WA 98121


                    Oak Harbor Capital VI, LLC
                    c/o Weinstein & Riley
                    2001 Western Ave., Ste. 400
                    Seattle, WA 98121


                    Office of the United States Trustee
                    915 Wilshire Blvd., Ste 1850
                    Los Angeles, CA 90017


                    Onewest Bank FSB
                    PO Box 829009
                    Dallas, TX 75382-9009


                    RBS Citizens
                    443 Jefferson Blvd.
                    Warwick, RI 02886


                    The Custom Companies, Inc
                    780 Watson Center Road
                    Carson, CA 90745
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                    Unishippers
                    12235 Beach Blvd., Ste 8
                    Stanton, CA 90680


                    UNIVERSAL CARD/CITIBANK
                    P.O. BOX 6241
                    Sioux Falls, SD 57117


                    Wells Fargo Bank, NA
                    MAC D3347-014
                    3476 Stateview Blvd.
                    Fort Mill, SC 29715
